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                              UNITED STATES DISTRICT COURT                          SUPPRESSED
                              EASTERN DISTRICT OF MISSOURI                                       FILED
                                    EASTERN DIVISION
                                                                                               NOV 16 2022
UNITED STATES OF AMERICA,                             )                                      U.S. DISTRICT COURT
                                                      )                                    EASTERN DISTRICT OF MO
                                                                                                   ST. LOUIS
                       Plaintiff,                     )
                                                      )       No.
vs.                                                   )
                                                      )
SHAQUILLE R. PAYNE,                                   )
                                                               4:22CR651-RWS/SPM
                                                      )
                       Defendant.                     )

                                          INDICTMENT

                                          COUNT ONE

       The Grand Jury charges that:

       On or about June 8, 2022, in the City of St. Louis, within the Eastern District of Missouri,

                                    SHAQUILLE R. PAYNE,

Defendant herein, knowingly and intentionally possessed with intent to distribute fentanyl, a

Schedule II controlled substance:

       In violation of Title 21, United States Code, Section 841(a)(l).

                                          COUNT TWO

       The Grand Jury further charges that:

       On or about June 8, 2022, in the City of St. Louis, within the Eastern District of Missouri,

                                    SHAQUILLE R. PAYNE,

Defendant herein, knowingly possessed at least one firearm, including a Taurus Armas make, G3

model 9mm semi-automatic pistol; a Smith & Wesson make M&P 40 Shield model, .40 caliber

semi-automatic pistol; a Brigade Mfg. Inc. make, BM-F-9 model, 9mm semi-automatic pistol; and

a Chongqing Jianshe Industry make, M12AK model, 12-gauge caliber shotgun; in furtherance of

a drug trafficking crime which may be prosecuted in a court of the United States, that is, possession
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with intent to distribute fentanyl, a Schedule II controlled substance, as charged in Count One.

        In violation of Title 18, United States Code, Section 924(c)(l).

                                FORFEITURE ALLEGATION

        The GrandJury further finds by probable cause that:

        1.     Pursuant to Title 21, United States Code, Sections 853, upon conviction of an

offense in violation of Title 21 , United States Code, Section 841(a)(l) as set forth in Count One,

Defendant shall forfeit to the United States of America any property constituting or derived from

any proceeds obtained, directly or indirectly, as a result of the offense(s); and any property used,

or intended to be used, in any manner or part, to commit, or to facilitate the commission of the

offense(s).

       2.      Subject to forfeiture is a sum of money equal to the total value of any property, real

or personal, constituting or derived from any proceeds traceable to the offenses set forth in Count

One.

       3.      Pursuant to Title 18, United States Code, Section 924(d)(l) and Title 28, United

States Code, Section 2461(c), upon conviction of an offense in violation of Title 18, United States

Code, Section(s) 922(g)(l) or 924(c) as set forth in Count Two, Defendant shall forfeit to the

United States of America any firearm or ammunition involved in or used in said violation.

       4.      If any of the property described above, as a result of any act or omission of

Defendant:

               a.      cannot be located upon the exercise of due diligence;

               b.     has been transferred or sold to, or deposited with, a third party;

               c.     has been placed beyond the jurisdiction of the court;

               d.     has been substantially diminished in value; or

               e.     has been commingled with other property which cannot be divided without
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                       difficulty,
                                        .
       the United States of America will be entitled to the forfeiture of substitute property

pursuant to Title 21 , United States Code, Section 853(p).


                                                             A TRUE BILL


                                                             FOREPERSON
SAYLER A. FLEMING
United States Attorney



C. RYAN FINLEN, #6305918(IL)
Assistant United States Attorney
